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IN TI-IE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
Eastern Division

 

 

 

LINDA WHITE §
Plaintifl`, §
vs. § Case No. 1-04-1291-TfAN
UNUM PROVIDENT §
Defendant. §
§
CASE MANAGEMENT ORDER

 

In accordance with the Rule 26(f) Report of Parties’ Planning Meeting, and the initial
case management conference, the following deadlines are established in this case:
1. This Court has subject matter jurisdiction of this civil action pursuant to the civil
enforcement provision of ERISA, 29 U.S.C. § ll32(e)(l).
2. Plaintiff Linda White brings an ERISA action claiming Wrongful denial of
benefits under a long term disability plan administered by Defendant, along with
attorney’s fees and costs. Defendant has denied Plaintiff is owed any such

benefitsl

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3. The parties agree that, with certain limited exceptions, civil actions for plan
benefits under ERISA are generally resolved upon the parties’ motions for
judgment based upon the existing administrative record. Theref`ore, the parties do
not anticipate exchanging Rule 26 Initial Disclosures, taking depositions or
written discovery, or having a trial on the merits.

4. Instead, the parties agree that Defendant shall file and serve the administrative
record to the Court and Plaintiff’s counsel no later than June 15, 2005.

5. In the event Plaintifi` believes that discovery is necessary and legally available,
and the Court overrules any opposition by Defendant, such discovery shall be
completed by September 15, 2005.

6. Instead of a trial, the parties shall each file their motions for judgement by
October 15, 2005. The parties’ response briefs shall be filed by October 31, 2005.

7. The parties anticipate that the Court shall decide the case upon the parties’

motions for judgment

lt is so ordered is this the _£A£`day of 7¢7 , 2005.
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Magistrate Judge Anderson

 

Date of Entry

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AGREED:

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number ll in
case 1:04-CV-01291 Was distributed by faX, mail, or direct printing on
May 26, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

